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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             NORTHERN DIVISION

NICHOLAS PHILLIP CASKEY,
ADC #553102                                                                   PLAINTIFF

V.                          CASE NO. 3:20-CV-253-BSM-BD

KEITH BOWERS                                                                DEFENDANT

                                         ORDER

       Plaintiff Nicholas Phillip Caskey has filed a notice with the Court requesting to

add claims against unidentified Craighead County Detention officials for frustrating his

ability to pursue this lawsuit. He alleges Detention Center officials offer him only two

envelopes and four sheets of papers per week. (Doc. No. 11)

       Mr. Caskey cannot pursue multiple unrelated claims in one lawsuit due to the risk

of confusion and unfair prejudice. The proposed new claims are entirely different from

the health-related claims now pending in this lawsuit. Furthermore, he must exhaust the

grievance process as to all Defendants and all claims before he can litigate those claims

in federal court.

       If Mr. Caskey wants to bring claims for denial of access to the courts, he must first

exhaust the Detention Center’s grievance policy as to those claims, then file a new

lawsuit.

       SO ORDERED, this 19th day of October, 2020.


                                              ___________________________________
                                              UNITED STATES MAGISTRATE JUDGE
